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%AO 247(02/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                for the
                                                     MIDDLE District of   ALABAMA


                   United States of America                       )
                              v.                                  )
                                                                  ) Case No: 3:94CR001 14-01 1-TMH
                 RODERICK DURELL BAKER
                                                                  ) USM No: 09381-002
Date of Previous Judgment: 7/11/1996                              ) Patricia Kemp
(Use Date of Last Amended Judgment if Applicable)                 ) Defendant's Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

         Upon motion of X the defendant 1 the Director of the Bureau of Prisons                     the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
             DENTED. x GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                       the last judgment issued) of 121          months is reduced to 120 months
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior toy Departures)
Previous Offense Level:    32                                         Amended Offense Level:     30
Criminal History Category: I                                          Criminal History Category: I
Previous Guideline Range: 121                   to 151 months         Amended Guideline Range: 120                  to 121 months
H. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

x The reduced sentence is within the amended guideline range.
  The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range.
X Other (explain): Statutory mandatory minimum sentence.




HI. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 7/11/1996               shall remain in effect.
IT IS SO ORDERED.

Order Date:        9/12/2008                                              7.44t44.—
                                                                                             Judge's signature

Effective Date: ________________                                      TRUMAN HOBBS,SENIOR U.S. DISTRICT JUDGE
                    (if different from order date)                                         Printed name and title
